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                                         VERIFICATION

STATE OF NEW JERSEY                    )
                                       ) SS:
COUNTY OF ESSEX                        )

                 Andrew H. Sherman, after being duly sworn according to law, deposes and says:

                 a)     I am an attorney at law and a Member of the law firm of Sills Cummis &

Gross P.C., located at One Riverfront Plaza, Newark, New Jersey 07102.

                 b)     I am familiar with the work performed on behalf of the Committee by the

lawyers in the firm.

                 c)     I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Local Rule 2016-2, and submit that the Application substantially complies therewith.

Dated: November 27, 2019

                                                      /s/ Andrew H. Sherman
                                                      Andrew H. Sherman




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